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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                4:08CR3148
                                     )
            v.                       )
                                     )
LARRY J. LAUTENSCHLAGER,             )                   ORDER
                                     )
                 Defendant.          )
                                     )


     IT IS ORDERED:

     The pretrial services officer shall investigate the proposal

of the defendant and report to the court and counsel as soon as

possible.


     DATED this 4th day of June, 2009.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
